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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION



RONALD PENSE                                                                           PLAINTIFF

                                 NO. 5:16-cv-5275-TLB

ALLY FINANCIAL, INC., previously                                                    DEFENDANT
known as GMAC, INC., and EQUIFAX
INFORMATION SERVICES, LLC

                               CLERK'S ORDER OF DISMISSAL


   On this 6th day of September, 2017, the parties hereto having

filed a stipulation for dismissal pursuant to Rule 41 (a), Federal Rules of Civil Procedure,

   IT IS ORDERED that plaintiff's complaint be, and hereby is dismissed with prejudice.


                              AT THE DIRECTION OF THE COURT

                               DOUGLAS F. YOUNG, CLERK


                               BY: /s/ R. Guerrero
                                           Deputy Clerk
